Entered: July 12, 2012    Case 10-37371     Doc 524    Filed 07/12/12      Page 1 of 3
Signed: July 10, 2012
SO ORDERED
No response or objection.




                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF MARYLAND
                                            (Greenbelt Division)

                                                          )
        In re:                                            )   Chapter 11
                                                          )
        KH FUNDING CO.,                                   )   Case No. 10-37371 (TJC)
                                                          )
                               Debtor.                    )
                                                          )

                 ORDER APPROVING FOURTH AND FINAL APPLICATION OF
          BDO CONSULTING, A DIVISION OF BDO USA, LLP FOR INTERIM ALLOWANCE
            OF COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT
                  OF EXPENSES AS FINANCIAL ADVISOR TO THE OFFICIAL
                 COMMITTEE OF UNSECURED CREDITORS FOR THE PERIOD
                      OF FEBRUARY 7, 2011 THROUGH APRIL 30, 2012

                  Upon consideration of the Fourth and Final Application (“the Application”) of BDO

        Consulting, a Division of BDO USA, LLP (“BDO”) for Allowance of Compensation and

        Reimbursement of Expenses Incurred as Financial Advisor to the Official Committee of

        Unsecured Creditors (the “Application”) during the Period of February 1, 2012 through April 30,

        2012      (the “Fourth Application Period”), and final allowance for the period beginning on

        February 7, 2011, the effective date of BDO, through April 30, 2012, the effective date of the
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Debtor’s confirmed Chapter 11 plan of reorganization (the “Final Application Period”), as

financial advisor to the Official Committee of Unsecured Creditors (the “Committee”), of KH

Funding Co., the above-captioned debtor and debtor-in-possession (the “Debtor”), adequate and

proper notice having been circulated, and after due consideration of any timely objections to said

Application and any hearing held thereon, and it appearing that the compensation requested is

reasonable and a benefit to the Debtor’s estate, it is by the United States Bankruptcy Court for

the District of Maryland,

               ORDERED, that the request contained within the Application be, and the same is

hereby, approved and allowed in the amount of $89,446.00 as compensation for professional

services rendered, and $30.24 as reimbursement of expenses incurred during the Fourth

Application Period; and it is further

               ORDERED, on a final basis the allowance of compensation and reimbursement

of expenses to BDO, for the Final Application Period, in the amount of $415,425.50 for

professional services rendered and expenses in the amount of $296.44.




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                                      END OF ORDER




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